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              In the United States Court of Federal Claims
                              Nos. 06-245T, 06-246T, and 06-247T
                                      (CONSOLIDATED)

                                     (Filed: October 31, 2008)

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MURFAM FARMS, LLC,                                   *
By and Through Wendell H. Murphy, Jr.,               *
A Partner Other than Tax Matters Partner,            *
                                                     *
PSM FARMS, LLC,                                      *
By and Through Stratton K. Murphy,                   *
a Partner Other than Tax Matters Partner,            *
                                                     *
MURPHY PORK PARTNERS, LLC,                           *
By and Through Wendell H. Murphy, Jr.,               *
A Partner Other than Tax Matters Partner,            *
                                                     *
                       Plaintiffs,                   *
                                                     *
       v.                                            *
                                                     *
THE UNITED STATES,                                   *
                                                     *
                       Defendant.                    *
                                                     *
****************************************             *

               ORDER DENYING MOTION TO CONFIRM JURISDICTION

        On July 3, 2008, Plaintiffs filed a motion requesting that this Court issue an order
confirming that it has jurisdiction to hear, in this proceeding, the managing partners’ reasonable
cause defenses to the Government’s accuracy-related penalties that it imposed on Plaintiffs
pursuant to Section 6662 of the Internal Revenue Code. Section 6226(f) gives this Court
jurisdiction “to determine all partnership items of the partnership for the partnership taxable year
to which the notice of final partnership administrative adjustment relates, the proper allocation of
such items among the partners, and the applicability of any penalty, addition to tax, or additional
amount which relates to an adjustment of a partnership item.” Section 6621 provides that “the
tax treatment of any partnership item (and the applicability of any penalty, addition to tax, or
additional amount which relates to an adjustment to a partnership item) shall be determined at the
partnership level.”



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        Plaintiffs argue that reasonable cause defenses of managing partners of a partnership are
encompassed within this grant of jurisdiction to determine partnership items in a partnership
proceeding, including the “applicability of any penalty.” The lead case that Plaintiffs cite in
support of their argument is Klamath Strategic Investment Fund, LLC v. United States, 472 F.
Supp. 2d. 885, 903 (E.D. Tex 2007), which specifically held that “the reasonable cause exception
may be considered at the partnership-level if it involves actions by the managing member
partner.” Plaintiffs argue that other cases, including one decided in this Court, support their
contention that managing partners can assert reasonable cause defenses in partnership
proceedings. See Stobie Creek Invest,, LLC v. United States, 101 AFTR 2d 2008-1151 (Fed. Cl.
2008); Santa Monica Pictures v. Comm’n., 89 T.C.M. (CCH) 1157, 2005 WL 1111682, 94-112
(2005).

        Plaintiffs argue that all of the partners in the partnerships were managing partners, thus
entitling all partners to assert reasonable cause defenses in this proceeding. In support of their
argument, Plaintiffs allege that each partnership was a member-managed limited liability
company. More specifically, Plaintiffs allege that the governing agreement of each partnership
vested in each individual member, in equal shares, the power and authority to manage the
business and affairs of the partnership. See Pl.’s Mot. at 6.

         Defendant opposes Plaintiff’s motion. Defendant argues that, in general, individual
partners may not assert partner-level defenses in a partnership proceeding. With respect to the
activities of managing partners at the partnership level, Defendant argues that the issue of control
of the partnership’s business activities is an issue of fact. Specifically, Defendant argues that, in
reality, the partners did not have equal control over the partnership and that they were not
necessarily knowledgeable of the business activities of the partnerships. It cites deposition
testimony from Wendell Murphy, the tax matters partner and the owner of 57% of Murphy Pork
Partners, LLC, (through his wholly-owned WHM Ventures, LLC), who stated that he had not
heard of either of those two entities. Murphy Dep. at 70-71.

        In light of this evidence, the Court is not willing to accept at face value the governing
agreements’ characterization of every member partner as a manager. Instead, it believes that a
full exploration of each partners’ involvement in, and knowledge of, the transactions conducted
by the alleged partnerships is warranted at trial. Thus, any ruling on whether this Court has
jurisdiction to hear the partners’ reasonable-cause defenses at the partnership level is premature.
Based on the deposition testimony of Mr. Murphy offered by Defendant, the Court finds that
there is a genuine issue of material fact as to the identity of the managing member partners, and
therefore DENIES Plaintiff’s motion.1

                                                      s/ Edward J. Damich
                                                      EDWARD J. DAMICH
                                                      Chief Judge



       1
         The Court denies, as moot, Plaintiffs’ request, in the alternative, to stay proceedings
because it appears the individual partners have filed their refund action complaints within the
past few weeks.

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